
*1256OPINION".
Arundell:
The first issue is governed by our decision in Mrs. E. A. Giffin, 19 B. T. A. 1243, in which we held adversely to petitioner’s claim for the deduction of selling costs incident to the sale of real estate.
In support of his contention under the second issue petitioner cites Olinger Corporation, 9 B. T. A. 170, and Robert H. McNeill, 16 B. T. A. 479. The Olinger case was overruled in Julia Stow Lovejoy, 18 B. T. A. 1179, and the principle announced in.the McNeill case has also been overruled. See Bonwit Teller &amp; Co., 17 B. T. A, 1019; James M. Butler, 19 B. T. A. 718; Roby Realty Co., 19 B. T. A. 696; Evalena M. Howard, 19 B. T. A. 865. These later cases hold that a commission paid by the lessor to procure a long term lease is a capital expenditure to be ratably deducted over the term of the lease. Accordingly the respondent’s action in allowing as a deduction a sum representing one ninety-ninth of the commission paid in this case is approved.

Decision will be entered for the respondent.

